
*EYONS, President,
delivered the resolution of the court, as follows :
The only real plaintiff in the cause is Jenny Gray ; and the mention of her children has *1069no other effect than as serving- to shew, that a verdict in her favour would enure to their benefit. It was therefore a mere redundancy, without any operation, as the same consequence would have followed from the verdict, whether those words were inserted or not. Of course, they may be disregarded; and then it is a suit brought by the mother only ; which obviates the objection, that the verdict has only found for the plaintiff, without saying which of them, or any how disposing of the others.
With respect to the exception, that the plaintiff’s condition is not put in issue, the answer is, That it was the defendant’s own fault; since he had his choice to plead it, or not: And, if he has failed to do so, he certainly has no right to complain. But how is he injured ? There is nothing which looks that way ; for it appears by the verdict, that a full enquiry into the plaintiff’s right to freedom was allowed ; and therefore, he had the same benefit upon this, that he would have had upon the other issue.
The objection to the jurisdiction of the district court is altogether unfounded. Tor the cause was docketed by consent; and it was no more, in effect, than a dismission of the suit in the county court, and filing the same pleadings, by mutual consent, in the district court; where both parties appeared, and as the court had jurisdiction over the subject, neither could afterwards object to the mode of bringing the cause into court.
The judgment is therefore affirmed.
